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                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

UMG RECORDINGS, INC., et al.,                    )
                                                 )
                Plaintiffs,                      )
                                                 )
vs.                                              )
                                                       No. 1:17-cv-00365-LY
                                                 )
GRANDE COMMUNICATIONS                            )
NETWORKS LLC,                                    )
                                                 )
                Defendant.
                                                 )


      THIRD ADVISORY IN RESPONSE TO THE COURT’S AUGUST 16, 2018 ORDER

         Pursuant to the Court’s August 16, 2018 Order, Grande Communications Networks LLC

(“Grande”) submits this third status update regarding the parties’ efforts to reach an agreement

on Grande’s requests for financial information concerning revenues generated by the works at

issue in this case. See ECF No. 139 at 1-2.

         On August 27th, following a previous meet and confer by telephone, Grande provided a

specific proposal for Plaintiffs’ consideration. Under this proposal, Plaintiffs would provide

sworn statements regarding per-download and per-stream royalties paid to Plaintiffs by certain

online music services over 2014-2018, and streaming counts, download revenues, and

synchronization licensing revenues over that same period for 20 songs selected by Grande.

         At the time, Plaintiffs advised that they needed more time to consider the proposal, and

so Grande filed a first status update indicating that the parties would provide a further report by

August 31st. See ECF No. 149. On August 31st, Plaintiffs advised that they were still

considering Grande’s proposal, and that they expected to be able to provide a response this week.

Grande then filed a second status report so indicating. See ECF No. 160.




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       In a meet and confer by telephone on September 6th, Plaintiffs advised that they need yet

more time to respond to Grande’s proposal, although they are optimistic the parties will be able

to reach an agreement. In the interim, Plaintiffs have canceled the Rule 30(b)(6) depositions of

certain corporate designees whose testimony may be impacted by the requested information, on

grounds that they are unwilling to produce the witnesses a second time when this issue is

resolved. Plaintiffs have not provided a date certain by which they will be able to respond with

agreement or a counter-proposal, but they indicated early next week is possible.

       Grande will provide a further report by September 14, 2018, or as soon as the issue is

resolved or the parties reach an impasse, whichever is earlier.




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Dated: September 7, 2018.


                                           By: /s/ Richard L. Brophy
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                               CERTIFICATE OF SERVICE

       The undersigned certifies that on September 7, 2018, all counsel of record who are

deemed to have consented to electronic service are being served with a copy of this document via

the Court’s CM/ECF system pursuant to Local Rule CV-5(b)(1).



                                                   /s/ Richard L. Brophy
                                                   Richard L. Brophy




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